UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                          Chapter 11

                                                                    Case No. 20-12345 (MG)
    THE ROMAN CATHOLIC DIOCESE OF
    ROCKVILLE CENTRE, NEW YORK,

                                     Debtor. 1



                                      CERTIFICATE OF SERVICE

     STATE OF NEW YORK                        )
                                              )
     COUNTY OF NEW YORK                       )



             I, Janice G. Washington, am over the age of eighteen years, am employed by Pachulski

Stang Ziehl & Jones LLP. I am not a party to the within action; my business address is 10100

Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067.

             On July 5, 2023, in addition to service via the Court’s ECF system, I caused a true and

correct copy of the following document to be served via electronic mail upon parties set forth on

the service list annexed hereto as Exhibit A; and

             On July 5, 2023, I caused a true and correct copy of the following documents to be served

via U.S. Mail upon the parties set forth on the service list annexed hereto as Exhibit B.

                   [Proposed] Joint Pre-Trial Order Relating To The July 10-11, 2023 Evidentiary
                    Hearing On The Motion Of The Official Committee Of Unsecured Creditors
                    To Dismiss Chapter 11 Case [Docket No. 1912]



1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for digits
of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box 9023,
Rockville Centre, NY 11571-9023.


DOCS_LA:349962.1 18491/002
        I declare under penalty of perjury, under the laws of the State of California and the

    United States of America that the foregoing is true and correct.




                                                      /s/ Janice G. Washington
                                                         Janice G. Washington




                                                 2
DOCS_LA:349962.1 18491/002
                                       EXHIBIT A

Service by E-Mail

       NAME                   NOTICE NAME                      EMAIL
 ALONSO KRANGLE LLP          DAVID B.            DKRANGLE@ALONSOKRANGLE.COM;
                             KRANGLE ESQ         AALONSO@ALONSOKRANGLE.COM

 ALSTON & BIRD LLP           JAMES J.            JAMES.VINCEQUERRA@ALSTON.COM;
                             VINCEQUERRA;        WILLIAM.HAO@ALSTON.COM;
                             WILLIAM HOA;        DYLAN.CASSIDY@ALSTON.COM;
                             DYLAN S.            KIMBERLY.SCHIFFMAN@ALSTON.COM
                             CASSIDY;
                             KIMBERLY J.
                             SCHIFFMAN
 ANDREOZZI + FOOTE           NATHANIEL L.        NATE@VCA.LAW
                             FOOTE
 BARCLAY DAMON LLP           JANICE B. GRUBIN    JGRUBIN@BARCLAYDAMON.COM

 BETTI & ASSOCIATES          MICHELE M. BETTI,   MBETTILAW@GMAIL.COM
                             ESQ

 BONINA & BONINA, P.C.       JOHN BONINA         JBONINA@MEDLAW1.COM
 PARKER HUDSON               TODD C. JACOBS;     TJACOBS@PHRD.COM;
                             JOHN E. BUCHEIT     JBUCHEIT@PHRD.COM
 BURNS BAIR LLP              TIMOTHY BURNS;      TBURNS@BURNSBAIR.COM;
                             JESSE BAIR          JBAIR@BURNSBAIR.COM

 BUTTAFUOCO &                JAMES S.            JMCCARTHY@BUTTAFUOCOLAW.COM
 ASSOCIATES, PLLC            MCCARTHY;
                             ELLEN BUCCHOLZ

 CARLTON FIELDS PA           LUIS ORENGO, JR.,   LORENGO@CARLTONFIELDS.COM;
                             ESQ. ROBERT W.      RDIUBALDO@CARLTONFIELDS.COM;
                             DIUBALDO, ESQ.;     NVALENZA-FROST@CARLTONFIELDS.COM;
                             NORA VALENZA-       ASILVERMAN@CARLTONFIELDS.COM
                             FROST, ESQ.; ALEX
                             B. SILVERMAN,
                             ESQ.
 CERTAIN & ZILBERG           GARY CERTAIN        GCERTAIN@CERTAINLAW.COM

 CLYDE & CO US LLP           CATALINA            CATALINA.SUGAYAN@CLYDECO.US;
                             SUGAYAN, ESQ.;      JAMES.MOFFITT@CLYDECO.US
                             JAMES MOFFITT,
                             ESQ.

 COUGHLIN DUFFY LLP          KEVIN T.            KCOUGHLIN@COUGHLINDUFFY.COM;
                             COUGHLIN, ESQ.;     ASMITH@COUGHLINDUFFY.COM;
                             ADAM T. SMITH,      KMORIARTY@COUGHLINDUFFY.COM




DOCS_LA:349962.1 18491/002
                             ESQ.; KAREN H.
                             MORIARTY
 CULLEN AND DYKMAN           MATTHEW G.        MROSEMAN@CULLENLLP.COM;
 LLP                         ROSEMAN, ESQ.;    TSLOME@CULLENLLP.COM;
                             ELIZABETH M.      EABOULAFIA@CULLENLLP.COM;
                             ABOULAFIA, ESQ;   MKWIATKOWSKI@CULLENLLP.COM
                             MICHAEL
                             KWIATKOWSKI,
                             ESQ.; THOMAS R.
                             SLOME

 DESIMONE &                  RALPH DESIMONE    RDESIMONE@DLAW.NET
 ASSOCIATES, LLC

 DUANE MORRIS LLP            BRETT L.          BLMESSINGER@DUANEMORRIS.COM;
                             MESSINGER;        RWROTEN@DUANEMORRIS.COM;
                             RUSSELL W.        JKAHANE@DUANEMORRIS.COM;
                             ROTEN; JEFF D.    AMINA@DUANEMORRIS.COM
                             KAHANE; ANDREW
                             E. MINA
 FARRELL FRITZ PPC           MARTIN BUNIN;     MBUNIN@FARRELLFRITZ.COM;
                             PATRICK COLLINS   PCOLLINS@FARRELLFRITZ.COM

 GAIR, GAIR, CONASON,        RACHEL L.         RJACOBS@GAIRGAIR.COM;
 RUBINOWITZ, BLOOM           JACOBS;           PSAGHIR@GAIRGAIR.COM;
                             PETER SAGHIR;     CCASSIDY@GAIRGAIR.COM;
                             CONOR CASSIDY;    AIBISHAJ@GAIRGAIR.COM
                             ANGELLA IBISHAJ
 JOSEPH HAGE                 ROBERT E.         RGERBER@JHANY.COM
 AARONSON LLC                GERBER
 HACH ROSE SCHIRIPPA         MICHAEL ROSE &    MROSE@HACHROSELAW.COM;
 & CHEVERIE                  HILLARY NAPPI     HNAPPI@HRSCLAW.COM;
                                               MROSE@HRSCLAW.COM

 HAMBURGER & YAFFE,          DOUGLAS           RICHARD@HAMBURGERYAFFE.LAW;
 LLP                         MCNALLY;          DKMCNALLY@GMAIL.COM;
                             RICHARD           DAVID@HAMBURGERYAFFE.LAW
                             HAMBURGER;
                             DAVID YAFFE
 HERMAN LAW                  JEFF HERMAN;      JHERMAN@HERMANLAW.COM;
                             STUART S.         SMERMELSTEIN@HERMANLAW.COM;
                             MERMELSTEIN       DELLIS@HERMANLAW.COM;MTHEISEN@HERMANLAW
                             ESQ.;             DOCKETING@HERMANLAW.COM;
                             ANDREW            ASILVERSHEIN@HERMANLAW.COM
                             SILVERSHEIN
 HOROWITZ LAW                ADAM HOROWITZ;    ADAM@ADAMHOROWITZLAW.COM;
                             ROBIN KISSIN      ROBIN@ADAMHOROWITZLAW.COM
 HOWARD & HOWARD             JAMES E. MORGAN   JMORGAN@HOWARDANDHOWARD.COM
 ATTORNEYS PLLC



DOCS_LA:349962.1 18491/002
 HURLEY MCKENNA &            CLINT PIERCE,      CPIERCE@HURLEY-LAW.COM;
 MERTZ P.C.                  EVAN SMOLA, &      ESMOLA@HURLEY-LAW.COM;
                             MARK MCKENNA       MMCKENNA@HURLEY-LAW.COM

 IFRAH, PLLC                 GEORGE R.          GEORGE@IFRAHLAW.COM
                             CALHOUN, V

 JAMES, VERNON &             LEANDER L. JAMES   LJAMES@JVWLAW.NET
 WEEKS, P.A.                 IV

 JANET, JANET & SUGGS        ANDREW S. JANET    ASJANET@JJSJUSTICE.COM
 LLC

 JEFF ANDERSON &             ATTN: JEFF         JEFF@ANDERSONADVOCATES.COM;
 ASSOCIATES, P.A.            ANDERSON ESQ.,     TRUSHA@ANDERSONADVOCATES.COM;
                             TRUSHA GOFFE       PSTONEKING@ANDERSONADVOCATES.COM
                             ESQ, &
                             PATRICK
                             STONEKING ESQ.


 JONES DAY                   CORINNE BALL,      CBALL@JONESDAY.COM;
                             TODD GEREMIA,      TRGEREMIA@JONESDAY.COM;
                             BENJAMIN           BROSENBLUM@JONESDAY.COM;
                             ROSENBLUM, ERIC    EPSTEPHENS@JONESDAY.COM;
                             P. STEPHENS,       ABUTLER@JONESDAY.COM;
                             ANDREW M.          CDIPOMPEO@JONESDAY.COM
                             BUTLER,
                             CHRISTOPHER
                             DIPOMPEO


 KAZEROUNI LAW               MIKE KAZEROUNI     MIKE@KAZLG.COM;
 GROUP APC                   ASSAL ASSASSI      ASSAL@KAZLG.COM

 KELLY & HULME PC            JAMES N. HULME,    JHULME@KELLYANDHULME.NET
                             ESQ

 KENNEDYS CMK LLP            JILLIAN G.         JILLIAN.DENNEHY@KENNEDYSLAW.COM
                             DENNEHY ESQ.

 KENNEY SHELTON              DIRK C.            DCHAARHOFF@KSLNLAW.COM;
 LIPTAK NOWAK LLP            HAARHOFF;          JTSHELTON@KSLNLAW.COM
                             JUDITH TREGER
                             SHELTON, ESQ.

 KLESTADT WINTERS            SEAN C.            SSOUTHARD@KLESTADT.COM
 JURELLER SOUTHARD           SOUTHARD
 & STEVENS LLP




DOCS_LA:349962.1 18491/002
 LAURA A. AHEARN,            LAURA A. AHEARN   LAHEARN@LAURAAHEARN.COM
 ESQ. PLLC

 LAW OFFICES OF              MITCHELL          MGARABEDIAN@GARABEDIANLAW.COM;
 MITCHELL                    GARABEDIAN;       WGORDON@GARABEDIANLAW.COM
 GARABEDIAN                  WILLIAM H.
                             GORDON
 LAW OFFICES OF              RONALD J. KIM     RON@RONALDKIMLAW.COM
 RONALD J. KIM, PC

 LEVY KONIGSBERG,            VARA LYONS        VLYONS@LEVYLAW.COM;
 LLP                         JOHN GUINAN       AKULL@LEVYLAW.COM;
                             T. CRUZ           TCRUZ@LEVYLAW.COM;
                             ANNA KULL         JGUINAN@LEVYLAW.COM;
                             MADELEINE         MSKALLER@LEVYLAW.COM
                             SKALLER
 MARSH LAW FIRM              JAMES R. MARSH    JAMESMARSH@MARSH.LAW
 PLLC

 MATTHEWS &                  DEREK GIOVI       DGIOVI@THEMATTHEWSLAWFIRM.COM
 ASSOCIATES
 MELTZER, LIPPE,             SCOTT STEINBERG   SSTEINBERG@MELTZERLIPPE.COM
 GOLDSTEIN &
 BREITSTONE LLP
 MERSON LAW PLLC             JORDAN K.         JMERSON@MERSONLAW.COM
                             MERSON

 MEYER, SUOZZI,              EDWARD J.         ELOBELLO@MSEK.COM;
 ENGLISH & KLEIN, P.C.       LOBELLO;          ATLEVIN@MSEK.COM
                             THOMAS LEVIN,
                             ESQ.

 MICHAEL G. DOWD             MICHAEL G. DOWD   MICHAELGDOWD@GMAIL.COM

 MORITT HOCK &               THERESA A.        TDRISCOLL@MORITTHOCK.COM;
 HAMROFF LLP                 DRISCOLL &        MTROIANO@MORITTHOCK.COM
                             MICHAEL C.
                             TROIANO

 NOAKER LAW FIRM,            PATRICK NOAKER    PATRICK@NOAKERLAW.COM
 LLC

 NORTON ROSE                 STEVEN HOWARD     STEVEN.HOWARD@NORTONROSEFULBRIGHT.
 FULBRIGHT US LLP                              COM
 OFFICE OF THE NY            LETITIA JAMES,    ELENA.GONZALEZ@AG.NY.GOV;
 STATE ATTORNEY              ELENA GONZALEZ,   ELIZABETHM.LYNCH@AG.NY.GOV
 GENERAL                     ELIZABETH M.
                             LYNCH
 OFFICE OF THE UNITED        SHARA CORNELL,    SHARA.CORNELL@USDOJ.GOV;
 STATES TRUSTEE              GREG ZIPES        GREG.ZIPES@USDOJ.GOV



DOCS_LA:349962.1 18491/002
 PARKER WAICHMAN             BRETT ZEKOWSKI;    BZEKOWSKI@YOURLAWYER.COM;
 LLP                         FRED ROSENTHAL     FROSENTHAL@YOURLAWYER.COM

 PARKER, HUDSON,             MATTHEW M.         MWEISS@PHRD.COM;
 RAINER & DOBBS LLP          WEISS;             MROBERTS@PHRD.COM;
                             MATTHEW G.         HWINSBERG@PHRD.COM
                             ROBERTS;
                             HARRIS B.
                             WINSBERG
 PFAU COCHRAN                MICHAEL T. PFAU    MICHAEL@PCVALAW.COM;
 VERTETIS AMALA PLLC         JASON P. AMALA     JASON@PCVALAW.COM

 PHILLIPS &                  DIANE PAOLICELLI   DPAOLICELLI@P2LAW.COM
 PAOLICELLI, LLP

 POLLOCK COHEN LLP;          ADAM POLLOCK       ADAM@POLLOCKCOHEN.COM
 ATTN
 PORZIO BROMBERG &           BRETT S. MOORE     RMSCHECHTER@PBNLAW.COM;
 NEWMAN P.C.                 ESQ.& ROBERT M.    BSMOORE@PBNLAW.COM
                             SCHECHTER ESQ

 REED SMITH LLP              AARON JAVIAN;      AJAVIAN@REEDSMITH.COM;
                             JOHN B.            JBERRINGER@REEDSMITH.COM;
                             BERRINGER;         TLAW@REEDSMITH.COM
                             TIMOTHY P. LAW
 RHEINGOLD GIUFFRA           THOMAS P. GIUFFA   TGIUFFRA@RHEINGOLDLAW.COM
 RUFFO & PLOTKIN LLP

 RIVKIN RADLER LLP           MICHAEL KOTULA;    MICHAEL.KOTULA@RIVKIN.COM;
                             SIOBHAIN P.        SIOBHAIN.MINAROVICH@RIVKIN.COM
                             MINAROVICH

 ROBINS KAPLAN LLP           RAYNA E.           RKESSLER@ROBINSKAPLAN.COM;
                             KESSLER            MHONNOLD@ROBINSKAPLAN.COM
                             MATTHEW
                             HONNOLD
 ROMANO &                    MICHAEL J.         MJR@ROMANOFIRM.COM
 ASSOCIATES                  ROMANO

 RUSKIN MOSCOU               MICHAEL S.         MAMATO@RMFPC.COM
 FALTISCHEK, P.C.            AMATO
 RUSSO, KARL,                CHRISTOPHER        CG@RKWCLAW.COM
 WIDMAIER &                  GERACE
 CORDANO PLLC

 SHELLIST LAZARZ             DORIAN             DRODES@EEOC.NET
 SLOBIN LLP                  VANDENBERG-
                             RODES




DOCS_LA:349962.1 18491/002
 SILBERSTEIN, AWAD &         MICHAEL            MLAW@ASK4SAM.NET
 MIKLOS, P.C.                LAUTERBORN

 SIMMONS HANLY               RICHARD L.         RKROEGER@SIMMONSFIRM.COM
 CONROY LLC                  KROEGER

 SLATER SLATER               JONATHAN           JSCHULMAN@SSSFIRM.COM;
 SCHULMAN LLP                SCHULMAN,          ASLATER@SSSFIRM.COM ;
                             ADAM SLATER,       LLEDER@SSSFIRM.COM;
                             LINC C. LEDER      SALTER@SSSFIRM.COM
 SULLIVAN PAPAIN             ERIC K. SCHWARZ    ESCHWARZ@TRIALLAW1.COM
 BLOCK MCGRATH &
 CANNAVO P.C.

 SWEENEY, REICH &            GERARD J.          GSWEENEY@SRBLAWFIRM.COM;
 BOLZ, LLP                   SWEENEY;           MREICH@SRBLAWFIRM.COM
                             MICHAEL H. REICH
 THE LAW OFFICE OF           CHAD A. BOWERS     BOWERS@LAWYER.COM;
 CHAD A. BOWERS, LTD.                           CHADALBERTBOWERS@GMAIL.COM
 THE LAW OFFICE OF           JOSHUA W.          JOSH@SKILLMANLAW.NYC
 JOSHUA W. SKILLMAN          SKILLMAN

 THE ZALKIN LAW              ELIZABETH CATE,    ELIZABETH@ZALKIN.COM;
 FIRM, P.C. AND              DEVIN STOREY,      DMS@ZALKIN.COM;
 BARASCH MCGARRY             IRWIN ZALKIN,      IRWIN@ZALKIN.COM;
                             DANA COHEN;        ARIELLE@ZALKIN.COM
                             ARIELLE
                             FELDSHON

 THOMAS COUNSELOR            KATHLEEN R.        KAT@TLCLAWLLC.COM
 AT LAW, LLC                 THOMAS
 TOGUT, SEGAL &              FRANK A.           FRANKOSWALD@TEAMTOGUT.COM;
 SEGAL LLP                   OSWALD, JARED      JBORRIELLO@TEAMTOGUT.COM
                             BORRIELLO

 TOLMAGE, PESKIN,            STEPHAN H.         PESKIN@TOLMAGEPESKINLAW.COM
 HARRIS, & FALICK            PESKIN

 UNITED STATES               PETER ARONOFF      PETER.ARONOFF@USDOJ.GOV
 ATTORNEYS OFFICE,
 FOR THE SOUTHERN
 DISTRICT OF NEW
 YORK

 WEINBERG GROSS &            MARC A.            MPERGAMENT@WGPLAW.COM
 PERGAMENT LLP               PERGAMENT

 WESTERMAN BALL              JOHN E.            JWESTERMAN@WESTERMANLLP.COM;
 EDERER MILLER               WESTERMAN,         MHENNESSY@WESTERMANLLP.COM;
                             MICKEE M.



DOCS_LA:349962.1 18491/002
 ZUCKER & SHARFSTEIN         HENNESSY,          WHEUER@WESTERMANLLP.COM;
 LLP                         WILLIAM C.         ALADD@WESTERMANLLP.COM
                             HEUER, ALISON M.
                             LADD

 WEITZ & LUXENBERG           JARED SCOTTO       JSCOTTO@WEITZLUX.COM
 P.C.                        LISA BUSCH         NGONSALVES@WEITZLUX.COM
                             JUSTINE DELANEY    LBUSCH@WEITZLUX.COM
                             NICHOLAS           JDELANEY@WEITZLUX.COM
                             GONZALVES




DOCS_LA:349962.1 18491/002
                                          EXHIBIT B

SERVICE BY US MAIL

        NAME                   NOTICE NAME                    ADDRESS
 DELL & DEAN                 JOSEPH G. DELL     1225 FRANKLIN AVENUE, SUITE 450
                                                GARDEN CITY, NJ 11530
 GIULIANO LAW, P.C.          ANTHONY F.         445 BROADHOLLOW RD., STE 25
                             GIULIANO           MELVILLE, NY 11747
 INTERNAL REVENUE            CENTRALIZED        PO BOX 7346
 SERVICE                     INSOLVENCY         PHILADELPHIA, PA 19101-7346
                             OPERATION

 OFFICE OF THE UNITED        GREG ZIPES, ESQ.   US FEDERAL BUILDING
 STATES TRUSTEE                                 201 VARICK STREET, SUITE 1006
                                                NEW YORK, NY 10014
 THE ROMAN CATHOLIC          DEBTOR             50 NORTH PARK AVENUE P.O. BOX 9023
 DIOCESE OF                                     ROCKVILLE CENTRE, NY 11571-9023
 ROCKVILLE CENTRE,
 NEW YORK

 UNITED STATES               TAX &              86 CHAMBERS ST., 3RD FLOOR
 ATTORNEY’S OFFICE           BANKRUPTCY         NEW YORK, NY 10007
 (SDNY)                      UNIT




DOCS_LA:349962.1 18491/002
